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                                      8                         UNITED STATES DISTRICT COURT
                                      9                        CENTRAL DISTRICT OF CALIFORNIA
                                     10
                                          HEALTHCARE ALLY MANAGEMENT ) CASE NO. 2:21-cv-04744-ODW-(ASx)
                                     11   OF CALIFORNIA, LLC              )
Gordon Rees Scully Mansukhani, LLP




                                     12                                   ) PROTECTIVE ORDER
   101 W. Broadway, Suite 2000




                                                                          )
                                                             Plaintiff,   )
       San Diego, CA 92101




                                     13
                                                                          ) Complaint Filed: September 8, 2020
                                               vs.                        )
                                     14
                                          SBE ENT HOLDINGS, LLC, and DOES )
                                     15   1-10                            )
                                                                          )
                                     16                      Defendant.   )
                                                                          )
                                     17                                   )
                                     18
                                     19      1. A. PURPOSES AND LIMITATIONS
                                     20         Discovery in this action is likely to involve production of confidential,
                                     21   proprietary, or private information for which special protection from public
                                     22   disclosure and from use for any purpose other than prosecuting this litigation may
                                     23   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                     24   enter the following Stipulated Protective Order. The parties acknowledge that this
                                     25   Order does not confer blanket protections on all disclosures or responses to
                                     26   discovery and that the protection it affords from public disclosure and use extends
                                     27   only to the limited information or items that are entitled to confidential treatment
                                     28   under the applicable legal principles. The parties further acknowledge, as set forth
                                                                             -1-
                                                                STIPULATED PROTECTIVE ORDER
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                                      1   in Section 12.3, below, that this Stipulated Protective Order does not entitle them
                                      2   to file confidential information under seal; Civil Local Rule 79-5 sets forth the
                                      3   procedures that must be followed and the standards that will be applied when a
                                      4   party seeks permission from the court to file material under seal.
                                      5      B. GOOD CAUSE STATEMENT
                                      6         This action is likely to involve confidential information protected by the
                                      7   Health Insurance Portability and Accountability Act of 1996, including: patients’
                                      8   private personal information, contact information, medical records, medical
                                      9   information, and other financial and/or proprietary information for which special
                                     10   protection from public disclosure and from use for any purpose other than
                                     11   prosecution of this action is warranted. Such confidential and proprietary materials
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                                     12   and information consist of, among other things, confidential business or financial
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                                     13   information, information regarding confidential business practices, or other
                                     14   confidential research, development, or commercial information (including
                                     15   information implicating privacy rights of third parties), information otherwise
                                     16   generally unavailable to the public, or which may be privileged or otherwise
                                     17   protected from disclosure under state or federal statutes, court rules, case decisions,
                                     18   or common law. Accordingly, to expedite the flow of information, to facilitate the
                                     19   prompt resolution of disputes over confidentiality of discovery materials, to
                                     20   adequately protect information the parties are entitled to keep confidential, to
                                     21   ensure that the parties are permitted reasonable necessary uses of such material in
                                     22   preparation for and in the conduct of trial, to address their handling at the end of
                                     23   the litigation, and serve the ends of justice, a protective order for such information
                                     24   is justified in this matter. It is the intent of the parties that information will not be
                                     25   designated as confidential for tactical reasons and that nothing be so designated
                                     26   without a good faith belief that it has been maintained in a confidential, non-public
                                     27   manner, and there is good cause why it should not be part of the public record of
                                     28   this case.
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                                                                 STIPULATED PROTECTIVE ORDER
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                                      1   2. DEFINITIONS
                                      2       2.1    Action: [this pending federal law suit]. [*Option: consolidated or
                                      3       related actions.]
                                      4       2.2    Challenging Party: a Party or Non-Party that challenges the
                                      5       designation of information or items under this Order.
                                      6       2.3    “CONFIDENTIAL” Information or Items: information (regardless of
                                      7       how it is generated, stored or maintained) or tangible things that qualify for
                                      8       protection under Federal Rule of Civil Procedure 26(c), and as specified
                                      9       above in the Good Cause Statement.
                                     10       2.35 Confidential Health Information shall constitute a subset of
                                     11       CONFIDENTIAL information, shall be designated as “CONFIDENTIAL”
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                                     12       and subject to all other terms and conditions governing the treatment of
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                                     13       CONFIDENTIAL information. Confidential Health Information shall mean
                                     14       information supplied in any form, or any portion thereof, that identifies an
                                     15       individual or subscriber in any manner and relates to the past, present, or
                                     16       future care, services, or supplies relating to the physical or mental health or
                                     17       condition of such individual or subscriber, the provision of health care to
                                     18       such individual or subscriber, or the past, present, or future payment for the
                                     19       provision of health care to such individual or subscriber. Confidential Health
                                     20       Information shall include, but is not limited to, claim data, claim forms,
                                     21       grievances, appeals, or other documents or records that contain any patient
                                     22       health information required to be kept confidential under any state or federal
                                     23       law, including 45 C.F.R. Parts 160 and 164 promulgated pursuant to the
                                     24       Health Insurance Portability and Accountability Act of 1996 (see 45 C.F.R.
                                     25       §§ 164.501 & 160.103), and the following subscriber, patient, or member
                                     26       identifiers:
                                     27              a.      names;
                                     28              b.      all geographic subdivisions smaller than a State, including
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                                                               STIPULATED PROTECTIVE ORDER
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                                      1                 street address, city, county, precinct, and zip code;
                                      2          c.     all elements of dates (except year) for dates directly related to
                                      3                 an individual, including birth date, admission date, discharge
                                      4                 date, age, and date of death;
                                      5          d.     telephone numbers;
                                      6          e.     fax numbers;
                                      7          f.     electronic mail addresses;
                                      8          g.     social security numbers;
                                      9          h.     medical record numbers;
                                     10          i.     health plan beneficiary numbers;
                                     11          j.     account numbers;
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                                     12          k.     certificate/license numbers;
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                                     13          l.     vehicle identifiers and serial numbers, including license plate
                                     14                 numbers;
                                     15          m.     device identifiers and serial numbers;
                                     16          n.     web universal resource locators (“URLs”);
                                     17          o.     internet protocol (“IP”) address numbers;
                                     18          p.     biometric identifiers, including finger and voice prints;
                                     19          q.     full face photographic images and any comparable images;
                                     20                 and/or
                                     21          r.     any other unique identifying number, characteristic, or code.
                                     22   2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                                     23   their support staff).
                                     24   2.5    Designating Party: a Party or Non-Party that designates information or
                                     25   items that it produces in disclosures or in responses to discovery as
                                     26   “CONFIDENTIAL.”
                                     27   2.6    Disclosure or Discovery Material: all items or information, regardless
                                     28   of the medium or manner in which it is generated, stored, or maintained
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                                                          STIPULATED PROTECTIVE ORDER
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                                      1   (including, among other things, testimony, transcripts, and tangible things),
                                      2   that are produced or generated in disclosures or responses to discovery in
                                      3   this matter.
                                      4   2.7     Expert: a person with specialized knowledge or experience in a matter
                                      5   pertinent to the litigation who has been retained by a Party or its counsel to
                                      6   serve as an expert witness or as a consultant in this Action.
                                      7   2.8     House Counsel: attorneys who are employees of a party to this Action.
                                      8   House Counsel does not include Outside Counsel of Record or any other
                                      9   outside counsel.
                                     10   2.9     Non-Party: any natural person, partnership, corporation, association,
                                     11   or other legal entity not named as a Party to this action.
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                                     12   2.10 Outside Counsel of Record: attorneys who are not employees of a
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                                     13   party to this Action but are retained to represent or advise a party to this
                                     14   Action and have appeared in this Action on behalf of that party or are
                                     15   affiliated with a law firm which has appeared on behalf of that party, and
                                     16   includes support staff.
                                     17   2.11 Party: any party to this Action, including all of its officers, directors,
                                     18   employees, consultants, retained experts, and Outside Counsel of Record
                                     19   (and their support staffs).
                                     20   2.12 Producing Party: a Party or Non-Party that produces Disclosure or
                                     21   Discovery Material in this Action.
                                     22   2.13 Professional Vendors: persons or entities that provide litigation
                                     23   support services (e.g., photocopying, videotaping, translating, preparing
                                     24   exhibits or demonstrations, and organizing, storing, or retrieving data in any
                                     25   form or medium) and their employees and subcontractors.
                                     26   2.14 Protected Material: any Disclosure or Discovery Material that is
                                     27         designated as “CONFIDENTIAL.”
                                     28   2.15 Receiving Party: a Party that receives Disclosure or Discovery
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                                                          STIPULATED PROTECTIVE ORDER
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                                      1         Material from a Producing Party.
                                      2   3. SCOPE
                                      3         The protections conferred by this Stipulation and Order cover not only
                                      4   Protected Material (as defined above), but also (1) any information copied or
                                      5   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                      6   compilations of Protected Material; and (3) any testimony, conversations, or
                                      7   presentations by Parties or their Counsel that might reveal Protected Material.
                                      8         Any use of Protected Material at trial shall be governed by the orders of the
                                      9   trial judge. This Order does not govern the use of Protected Material at trial.
                                     10   4. DURATION
                                     11          Even after final disposition of this litigation, the confidentiality obligations
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                                     12   imposed by this Order shall remain in effect until a Designating Party agrees
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                                     13   otherwise in writing or a court order otherwise directs. Final disposition shall be
                                     14   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
                                     15   with or without prejudice; and (2) final judgment herein after the completion and
                                     16   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                     17   including the time limits for filing any motions or applications for extension of
                                     18   time pursuant to applicable law.
                                     19   5. DESIGNATING PROTECTED MATERIAL
                                     20         5.1    Exercise of Restraint and Care in Designating Material for Protection.
                                     21   Each Party or Non-Party that designates information or items for protection under
                                     22   this Order must take care to limit any such designation to specific material that
                                     23   qualifies under the appropriate standards. The Designating Party must designate for
                                     24   protection only those parts of material, documents, items, or oral or written
                                     25   communications that qualify so that other portions of the material, documents,
                                     26   items, or communications for which protection is not warranted are not swept
                                     27   unjustifiably within the ambit of this Order.
                                     28         Mass, indiscriminate, or routinized designations are prohibited. Designations
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                                                                STIPULATED PROTECTIVE ORDER
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                                      1   that are shown to be clearly unjustified or that have been made for an improper
                                      2   purpose (e.g., to unnecessarily encumber the case development process or to
                                      3   impose unnecessary expenses and burdens on other parties) may expose the
                                      4   Designating Party to sanctions.
                                      5         If it comes to a Designating Party’s attention that information or items that it
                                      6   designated for protection do not qualify for protection, that Designating Party must
                                      7   promptly notify all other Parties that it is withdrawing the inapplicable designation.
                                      8         5.2    Manner and Timing of Designations. Except as otherwise provided in
                                      9   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                     10   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                     11   under this Order must be clearly so designated before the material is disclosed or
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                                     12   produced.
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                                     13         Designation in conformity with this Order requires:
                                     14         (a)    for information in documentary form (e.g., paper or electronic
                                     15                documents, but excluding transcripts of depositions or other pretrial or
                                     16                trial proceedings), that the Producing Party affix at a minimum, the
                                     17                legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”),
                                     18                to each page that contains protected material. If only a portion or
                                     19                portions of the material on a page qualifies for protection, the
                                     20                Producing Party also must clearly identify the protected portion(s)
                                     21                (e.g., by making appropriate markings in the margins).
                                     22         A Party or Non-Party that makes original documents available for inspection
                                     23   need not designate them for protection until after the inspecting Party has indicated
                                     24   which documents it would like copied and produced. During the inspection and
                                     25   before the designation, all of the material made available for inspection shall be
                                     26   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                                     27   documents it wants copied and produced, the Producing Party must determine
                                     28   which documents, or portions thereof, qualify for protection under this Order.
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                                                                STIPULATED PROTECTIVE ORDER
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                                      1   Then, before producing the specified documents, the Producing Party must affix
                                      2   the “CONFIDENTIAL legend” to each page that contains Protected Material. If
                                      3   only a portion or portions of the material on a page qualifies for protection, the
                                      4   Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                      5   appropriate markings in the margins).
                                      6         (b)    for testimony given in depositions that the Designating Party identify
                                      7                the Disclosure or Discovery Material on the record, before the close of
                                      8                the deposition all protected testimony.
                                      9         (c)    for information produced in some form other than documentary and
                                     10                for any other tangible items, that the Producing Party affix in a
                                     11                prominent place on the exterior of the container or containers in which
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                                     12                the information is stored the legend “CONFIDENTIAL.” If only a
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                                     13                portion or portions of the information warrants protection, the
                                     14                Producing Party, to the extent practicable, shall identify the protected
                                     15                portion(s).
                                     16         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                     17   failure to designate qualified information or items does not, standing alone, waive
                                     18   the Designating Party’s right to secure protection under this Order for such
                                     19   material. Upon timely correction of a designation, the Receiving Party must make
                                     20   reasonable efforts to assure that the material is treated in accordance with the
                                     21   provisions of this Order.
                                     22   6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                     23         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
                                     24   designation of confidentiality at any time that is consistent with the Court’s
                                     25   Scheduling Order.
                                     26         6.2    Meet and Confer. The Challenging Party shall initiate the informal
                                     27   dispute resolution process set forth in the Court’s Procedures and Schedules. see
                                     28   http://www.cacd.uscourts.gov/honorable-alka-sagar
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                                                                STIPULATED PROTECTIVE ORDER
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                                      1         6.3    The burden of persuasion in any such challenge proceeding shall be
                                      2   on the Designating Party. Frivolous challenges, and those made for an improper
                                      3   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
                                      4   parties) may expose the Challenging Party to sanctions. Unless the Designating3
                                      5   Party has waived or withdrawn the confidentiality designation, all parties shall
                                      6   continue to afford the material in question the level of protection to which it is
                                      7   entitled under the Producing Party’s designation until the Court rules on the
                                      8   challenge.
                                      9   7. ACCESS TO AND USE OF PROTECTED MATERIAL
                                     10         7.1    Basic Principles. A Receiving Party may use Protected Material that is
                                     11   disclosed or produced by another Party or by a Non-Party in connection with this
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                                     12   Action only for prosecuting, defending, or attempting to settle this Action.
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                                     13         Such Protected Material may be disclosed only to the categories of persons
                                     14   and under the conditions described in this Order. When the Action has been
                                     15   terminated, a Receiving Party must comply with the provisions of section 13 below
                                     16   (FINAL DISPOSITION).
                                     17         Protected Material must be stored and maintained by a Receiving Party at a
                                     18   location and in a secure manner that ensures that access is limited to the persons
                                     19   authorized under this Order.
                                     20         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                     21   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                     22   Receiving    Party   may       disclose   any   information   or   item   designated
                                     23   “CONFIDENTIAL” only to:
                                     24         (a)    the Receiving Party’s Outside Counsel of Record in this Action, as
                                     25                well as employees of said Outside Counsel of Record to whom it is
                                     26                reasonably necessary to disclose the information for this Action;
                                     27         (b)    the officers, directors, and employees (including House Counsel) of
                                     28                the Receiving Party to whom disclosure is reasonably necessary for
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                                                                STIPULATED PROTECTIVE ORDER
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                                      1         this Action;
                                      2   (c)   Experts (as defined in this Order) of the Receiving Party to whom
                                      3         disclosure is reasonably necessary for this Action and who have
                                      4         signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
                                      5         A);
                                      6   (d)   the court and its personnel;
                                      7   (e)   court reporters and their staff;
                                      8   (f)   professional jury or trial consultants, mock jurors, and Professional
                                      9         Vendors to whom disclosure is reasonably necessary for this Action
                                     10         and who have signed the “Acknowledgment and Agreement to Be
                                     11         Bound” (Exhibit A);
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                                     12   (g)   the author or recipient of a document containing the information or a
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                                     13         custodian or other person who otherwise possessed or knew the
                                     14         information;
                                     15   (h)   during their depositions, witnesses, and attorneys for witnesses, in the
                                     16         Action to whom disclosure is reasonably necessary provided: (1) the
                                     17         deposing party requests that the witness sign the form attached as
                                     18         Exhibit A hereto; and (2) they will not be permitted to keep any
                                     19         confidential information unless they sign the “Acknowledgment and
                                     20         Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
                                     21         Designating Party or ordered by the court. Pages of transcribed
                                     22         deposition testimony or exhibits to depositions that reveal Protected
                                     23         Material may be separately bound by the court reporter and may not
                                     24         be disclosed to anyone except as permitted under this Stipulated
                                     25         Protective Order; and
                                     26   (i)   any mediator or settlement officer, and their supporting personnel,
                                     27         mutually agreed upon by any of the parties engaged in settlement
                                     28         discussions.
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                                                         STIPULATED PROTECTIVE ORDER
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                                      1   8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
                                      2        OTHER LITIGATION
                                      3          If a Party is served with a subpoena or a court order issued in other litigation
                                      4   that compels disclosure of any information or items designated in this Action as
                                      5   “CONFIDENTIAL,” that Party must:
                                      6          (a)   promptly notify in writing the Designating Party. Such notification
                                      7                shall include a copy of the subpoena or court order;
                                      8          (b)   promptly notify in writing the party who caused the subpoena or order
                                      9                to issue in the other litigation that some or all of the material covered
                                     10                by the subpoena or order is subject to this Protective Order. Such
                                     11                notification shall include a copy of this Stipulated Protective Order;
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                                     12                and
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                                     13          (c)   cooperate with respect to all reasonable procedures sought to be
                                     14                pursued by the Designating Party whose Protected Material may be
                                     15                affected.
                                     16          If the Designating Party timely seeks a protective order, the Party served
                                     17   with the subpoena or court order shall not produce any information designated in
                                     18   this action as “CONFIDENTIAL” before a determination by the court from which
                                     19   the subpoena or order issued, unless the Party has obtained the Designating Party’s
                                     20   permission. The Designating Party shall bear the burden and expense of seeking
                                     21   protection in that court of its confidential material and nothing in these provisions
                                     22   should be construed as authorizing or encouraging a Receiving Party in this Action
                                     23   to disobey a lawful directive from another court.
                                     24   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                     25          PRODUCED IN THIS LITIGATION
                                     26          (a)   The terms of this Order are applicable to information produced by a
                                     27                Non-Party in this Action and designated as “CONFIDENTIAL.” Such
                                     28                information produced by Non-Parties in connection with this litigation
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                                                                   STIPULATED PROTECTIVE ORDER
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                                      1               is protected by the remedies and relief provided by this Order.
                                      2               Nothing in these provisions should be construed as prohibiting a Non-
                                      3               Party from seeking additional protections.
                                      4         (b)   In the event that a Party is required, by a valid discovery request, to
                                      5               produce a Non-Party’s confidential information in its possession, and
                                      6               the Party is subject to an agreement with the Non-Party not to produce
                                      7               the Non-Party’s confidential information, then the Party shall:
                                      8               (1)   promptly notify in writing the Requesting Party and the Non-
                                      9                     Party that some or all of the information requested is subject to
                                     10                     a confidentiality agreement with a Non-Party;
                                     11               (2)   promptly provide the Non-Party with a copy of the Stipulated
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                                     12                     Protective Order in this Action, the relevant discovery
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                                     13                     request(s), and a reasonably specific description of the
                                     14                     information requested; and
                                     15               (3)   make the information requested available for inspection by the
                                     16                     Non-Party, if requested.
                                     17         (c)   If the Non-Party fails to seek a protective order from this court within
                                     18               14 days of receiving the notice and accompanying information, the
                                     19               Receiving    Party    may   produce   the    Non-Party’s   confidential
                                     20               information responsive to the discovery request. If the Non-Party
                                     21               timely seeks a protective order, the Receiving Party shall not produce
                                     22               any information in its possession or control that is subject to the
                                     23               confidentiality agreement with the Non-Party before a determination
                                     24               by the court. Absent a court order to the contrary, the Non-Party shall
                                     25               bear the burden and expense of seeking protection in this court of its
                                     26               Protected Material.
                                     27   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                     28         If a Receiving Party learns that, by inadvertence or otherwise, it has
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                                                               STIPULATED PROTECTIVE ORDER
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                                      1   disclosed Protected Material to any person or in any circumstance not authorized
                                      2   under this Stipulated Protective Order, the Receiving Party must immediately (a)
                                      3   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
                                      4   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
                                      5   the person or persons to whom unauthorized disclosures were made of all the terms
                                      6   of this Order, and (d) request such person or persons to execute the
                                      7   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
                                      8   A.
                                      9   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                     10         PROTECTED MATERIAL
                                     11         When a Producing Party gives notice to Receiving Parties that certain
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                                     12   inadvertently produced material is subject to a claim of privilege or other
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                                     13   protection, the obligations of the Receiving Parties are those set forth in Federal
                                     14   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
                                     15   whatever procedure may be established in an e-discovery order that provides for
                                     16   production without prior privilege review. Pursuant to Federal Rule of Evidence
                                     17   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
                                     18   of a communication or information covered by the attorney-client privilege or
                                     19   work product protection, the parties may incorporate their agreement in the
                                     20   stipulated protective order submitted to the court.
                                     21   12.   MISCELLANEOUS
                                     22         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                     23   person to seek its modification by the Court in the future.
                                     24         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                     25   Protective Order no Party waives any right it otherwise would have to object to
                                     26   disclosing or producing any information or item on any ground not addressed in
                                     27   this Stipulated Protective Order. Similarly, no Party waives any right to object on
                                     28   any ground to use in evidence of any of the material covered by this Protective
                                                                            -13-
                                                                STIPULATED PROTECTIVE ORDER
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                                      1   Order.
                                      2         12.3 Filing Protected Material. A Party that seeks to file under seal any
                                      3   Protected Material must comply with Civil Local Rule 79-5. Protected Material
                                      4   may only be filed under seal pursuant to a court order authorizing the sealing of the
                                      5   specific Protected Material at issue. If a Party’s request to file Protected Material
                                      6   under seal is denied by the court, then the Receiving Party may file the information
                                      7   in the public record unless otherwise instructed by the court.
                                      8   13.   FINAL DISPOSITION
                                      9         After the final disposition of this Action, as defined in paragraph 4, within
                                     10   60 days of a written request by the Designating Party, each Receiving Party must
                                     11   return all Protected Material to the Producing Party or destroy such material. As
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                                     12   used in this subdivision, “all Protected Material” includes all copies, abstracts,
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       San Diego, CA 92101




                                     13   compilations, summaries, and any other format reproducing or capturing any of the
                                     14   Protected Material. Whether the Protected Material is returned or destroyed, the
                                     15   Receiving Party must submit a written certification to the Producing Party (and, if
                                     16   not the same person or entity, to the Designating Party) by the 60 day deadline that
                                     17   (1) identifies (by category, where appropriate) all the Protected Material that was
                                     18   returned or destroyed and (2)affirms that the Receiving Party has not retained any
                                     19   copies, abstracts, compilations, summaries or any other format reproducing or
                                     20   capturing any of the Protected Material. Notwithstanding this provision, Counsel
                                     21   are entitled to retain an archival copy of all pleadings, motion papers, trial,
                                     22   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
                                     23   and trial exhibits, expert reports, attorney work product, and consultant and expert
                                     24   work product, even if such materials contain Protected Material. Any such archival
                                     25   copies that contain or constitute Protected Material remain subject to this
                                     26   Protective Order as set forth in Section 4 (DURATION).
                                     27   14.   Any violation of this Order may be punished by any and all appropriate
                                     28   measures including, without limitation, contempt proceedings and/or monetary
                                                                            -14-
                                                                STIPULATED PROTECTIVE ORDER
                                                                                CASE NO. 2:21-cv-04744-ODW-(AS)
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                                      1   sanctions.
                                      2   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                      3
                                      4   Dated: October 15, 2021               GORDON REES SCULLY
                                                                                MANSUKHANI, LLP
                                      5
                                                                                By: /s/ Matthew G. Kleiner
                                      6                                             Matthew G. Kleiner
                                      7                                             Casey C. Shaw
                                                                                    Attorneys for Defendant
                                      8                                             SBE ENT Holdings, LLC

                                      9   Dated: October 15, 2021               THE LAW OFFICES OF JONATHAN A.
                                                                                STIEGLITZ
                                     10
                                     11                                         By: /s/ Jonathan A. Stieglitz
Gordon Rees Scully Mansukhani, LLP




                                                                                    Jonathan A. Stieglitz
                                     12
   101 W. Broadway, Suite 2000




                                                                                    Attorneys for Plaintiff
                                                                                    Healthcare Ally Management of
       San Diego, CA 92101




                                     13
                                                                                    California, LLC
                                     14
                                     15   Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i) regarding signatures,
                                          Matthew G. Kleiner hereby attests that all other signatories listed concur in the
                                     16   content of this document and have authorized its filing.
                                     17
                                                                                       /s/ Matthew G. Kleiner
                                     18                                                Matthew G. Kleiner
                                     19
                                     20   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                     21   Date: ______________________
                                                 October 15, 2021                             / s / Sagar
                                                                                       __________________________
                                     22                                                Honorable Alka Sagar
                                                                                       United States Magistrate Judge
                                     23
                                     24
                                     25
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                                                                           -15-
                                                               STIPULATED PROTECTIVE ORDER
                                                                               CASE NO. 2:21-cv-04744-ODW-(AS)
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                                      1                                       EXHIBIT A
                                      2            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                      3   I, ________________________________________ [print or type full name], of

                                      4   ______________________________ [print or type full address], declare under
                                      5   penalty of perjury that I have read in its entirety and understand the Stipulated
                                      6   Protective Order that was issued by the United States District Court for the Central
                                      7   District of California on _______________ [date] in the case of Healthcare Ally
                                      8   Management of California, LLC v. SBE ENT Holdings, LLC, USDC CD-Cal. case
                                      9   number 2:21-cv-04744-ODW-ASx. I agree to comply with and to be bound by all
                                     10   the terms of this Stipulated Protective Order and I understand and acknowledge
                                     11   that failure to so comply could expose me to sanctions and punishment in the
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                                     12   nature of contempt. I solemnly promise that I will not disclose in any manner any
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                                          information or item that is subject to this Stipulated Protective Order to any person
       San Diego, CA 92101




                                     13
                                     14   or entity except in strict compliance with the provisions of this Order.
                                     15   I further agree to submit to the jurisdiction of the United States District Court for
                                     16   the Central District of California for the purpose of enforcing the terms of this
                                     17   Stipulated Protective Order, even if such enforcement proceedings occur after
                                     18   termination of this action. I hereby appoint ______________________________
                                     19   [print or type full name] of ________________________________________
                                     20   [print or type full address and telephone number] as my California agent for
                                     21   service of process in connection with this action or any proceedings related to
                                     22   enforcement of this Stipulated Protective Order.
                                     23   Date: _____________________________________
                                     24   City and State where sworn and signed: _______________________________
                                     25   Printed name:
                                     26
                                     27   Signature:

                                     28
                                                                            -16-
                                                                STIPULATED PROTECTIVE ORDER
                                                                                CASE NO. 2:21-cv-04744-ODW-(AS)
